AO 455 (Rev. 01/09) Waiver ofan Indictment


                                      UNITED STATES DISTRICT COURT
                                                           for the
                                             Eastern District of North Carolina                                    ·,.""




                 United States of America                    )
                                V.                           )     Case No. 2:20-CR-00031-1BO
                 Douglas Matthew Gurkins                     )
                                                             )
                            Defendant                        )

                                             WANER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.                                                                                       ·



Date: - -08/06/2020
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                                                                         Terrence W. Boyle, Chief US District Judge
                                                                                  Judge 'sprinted name and title




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